                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF PENNSYLVANIA

VERTICAL BRIDGE REIT, LLC,            Case No. 2:23-cv-1017-WSH

     Plaintiff,                       VERTICAL BRIDGE REIT, LLC’S
                                      OPPOSITION TO DEFENDANTS’
     v.                               MOTION TO DISMISS

EVEREST INFRASTRUCTURE PARTNERS,
INC.; EIP HOLDINGS II, LLC,           Judge W. Scott Hardy
     Defendants.


     PLAINTIFF VERTICAL BRIDGE REIT, LLC’S BRIEF IN OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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       Plaintiff Vertical Bridge REIT, LLC (“VB”), by and through its undersigned counsel—

K&L Gates, LLP—hereby respectfully submits this Brief in Opposition to Defendants Everest

Infrastructure Partners, Inc. and EIP Holdings II, LLC’s (collectively, “Everest”) Motion to

Dismiss Plaintiff’s Complaint Pursuant to Federal Rules of Civil Procedure 12(b)(6) and 12(b)(7)

(the “Motion”).

                                        INTRODUCTION

       In the Brief in support of its Motion (“Br.”), Everest concedes that it targets and approaches

VB’s landlords (the “Landlords”), induces the Landlords to share with Everest their confidential

VB ground leases (the “VB Contracts), and then uses the information in those VB Contracts to

acquire property interests at VB’s expense and to Everest’s advantage. This concession is in aid of

an attempt to execute an early legal judo move: Everest adopts a “so what” position, and argues

that none of this behavior is illegal because no misappropriated trade secrets are actually involved,

the statements Everest makes to VB’s Landlords are mere puffery or predictions about the future,

and everybody else in the industry behaves just like Everest. Everest even attaches to its Brief

eight leases that correspond to eight sites where Everest has acquired a property interest at VB’s

expense through the behavior described above, and says (functionally) – look, here are the only

sites where we have done the thing they say we did, and there’s nothing to see here!

       The attempted judo move fails, however, because in order to argue that no misappropriated

trade secrets are issue, or that its misrepresentations to VB’s Landlords do not violate the Lanham

Act, Everest has to (A) ignore the factual allegations in VB’s Complaint; (B) introduce its own

factual allegations that contradict the factual allegations in VB’s Complaint and that are not

supported by anything other than Everest counsel’s say-so; and (C) grossly mischaracterize

applicable case law while relying on misleadingly cherry-picked citations to either inapposite case

law or case law that, when read faithfully, supports VB’s position.


                                                 1
       When the proper Rule 12 standard is applied to the factual allegations in VB’s Complaint

in conjunction with the legal elements for VB’s causes of action, the text of the relevant statutes,

and properly characterized Third Circuit case law, Everest’s Brief is reduced to nothing more than

an admission that Everest is in fact doing what VB has alleged, combined with eight examples (but

by no means the only eight) of sites where Everest’s scheme has been successful thus far.

       For all these reasons, as explained in more detail below, and because Everest has failed to

carry its high burden under Rule 12, Everest’s Motion should be denied.

                  RESPONSE TO EVEREST’S STATEMENT OF FACTS

       As alleged in VB’s Complaint, Everest has engaged in an improper scheme to unlawfully

inflate its market share at VB’s expense through trade secret misappropriation, false advertising,

tortious interference with contract, and unfair competition. See Dkt. No. 1 (“DE 1”) ¶ 3.1 Unable

to successfully seek dismissal based on the facts as pled in VB’s Complaint, Everest both ignores

and misconstrues VB’s allegations, thereby turning the Rule 12(b)(6) standard on its head, (see

infra pp. 4–5). Specifically, Everest invites the Court to adopt and take as true Everest’s factual

recitation—which it improperly introduces in its Motion and which has no basis in VB’s

Complaint—while assuming that VB’s allegations (and the reasonable inferences that stem

therefrom) are false.


1
  Notably, this is not the first time Everest’s principals have engaged in this scheme. Certain
Everest principals previously owned and operated TriStar Investors, Inc. (“TriStar”). See DE 1 ¶
4. TriStar was sued by American Tower Company (“ATC”)—the largest telecommunications
infrastructure company in the United States—for similar unlawful conduct, including, inter alia,
misappropriation of trade secrets and Lanham Act violations. See id. ¶ 4 (citing TriStar Investors,
Inc. v. American Tower Corp., No. 3:12-cv-0499-M, 2014 WL 1327663 (N.D. Tex. Apr. 3, 2014)
(the “TriStar Litigation”)). The court initially declined to dispose of claims under Rule 12(b)(6)
until “after the factual record [was] further developed,” and subsequently granted in part TriStar’s
motion for summary judgment following discovery. See TriStar Litigation, at DE 77, 321. TriStar
ceased operations after that litigation concluded, and “Everest” emerged shortly thereafter. DE 1
¶ 5.


                                                 2
       What follows is a point-by-point rebuttal of the “facts” on which Everest relies for its

arguments that are squarely contradicted by the only factual allegations that courts may consider

under Rule 12: those found in VB’s Complaint.

              Everest characterizes the trade secrets at issue as nothing more than the amount of
               rent as stated in the VB Contracts, and claims that VB has not alleged that Everest
               has misappropriated the formula that it uses to set its pricing structure. See Br. at 1,
               5. In fact, VB’s Complaint alleges both. Specifically, VB alleges that the trade
               secrets at issue are both VB’s “confidential formula to set the pricing terms and
               [VB’s] pricing structure (including the timing and amounts of escalators),” as well
               as the pricing terms themselves. Compare Br. at 5, with DE 1 ¶ 30 (emphasis
               added), ¶¶ 36–37 (“Pricing information, including escalator amounts and timing, is
               jealously guarded by industry participants to the fullest extent of the law.”).

              Everest asserts that VB has not alleged that Everest has actually broken its promises
               to Landlords yet. Br. at 7. In fact, VB alleges that Everest’s promises are such that
               Everest never intends to keep them in the first place, and in fact knows the
               promises are deceptive at the time they are made. DE 1 ¶¶ 38, 43, 51.

              Everest accuses VB of a contradiction when VB describes its process of renewing
               VB Contracts with its Landlords. Everest’s allegation of a contradiction stems from
               a misconstrual of VB’s Complaint: VB frequently renews its VB Contracts with
               Landlords as a matter of general practice, but would typically not renew any VB
               Contract after expiration once Everest acquires an interest in the site. Id. ¶¶ 26, 51.
               There is no contradiction between these two allegations.

              Everest characterizes legitimate tower aggregators’ practice of submitting offers
               based on their research, analysis, and due diligence as simply “cross[ing] [their]
               fingers” and “hoping that the landowner negotiated a ‘market’ deal with [VB].” Br.
               at 5. Putting aside the mocking tone, the allegation is based on nothing other than
               Everest counsel’s say-so, and is flatly contradicted by multiple allegations in VB’s
               Complaint. Specifically, VB alleges that legitimate tower aggregators craft offers
               to landlords based on their own due diligence, including utilizing a market-
               determined multiple and estimating market rent based on their independent research
               and analysis. DE 1 ¶¶ 32–33. Moreover, in the TriStar case, ATC drew the exact
               same contrast that VB draws between legitimate tower aggregators’ practices and
               TriStar’s practices. See TriStar Investors, Inc. v. American Tower Corp., No. 3:12-
               cv-0499-M, 2014 WL 1327663 (N.D. Tex. Apr. 3, 2014); TriStar/ATC Litigation,
               at DE 9.

              Everest asserts that there are only eight VB sites where Everest has obtained an
               interest. No support of any kind is offered for this assertion. Even if this assertion
               were true, it would be of no help to Everest, since it would shed no light on the
               number of sites Everest has targeted in the past unsuccessfully (e.g. sites where


                                                  3
               Everest successfully misappropriated VB’s trade secrets but was unable to secure a
               property interest) or how many sites Everest is currently targeting but has not yet
               closed. Most importantly, for purposes of Everest’s Motion, the allegation in VB’s
               Complaint that Everest has targeted all VB Contracts that are “soon to be expiring”
               (DE ¶¶ 34–35)—and not just Everest’s cherry-picked eight—must be taken as true.2

                                       LEGAL STANDARD

       When deciding a motion to dismiss under Fed. R. Civ. P. 12(b)(6), the Court must accept

all well-pled factual allegations and reasonable inferences that stem therefrom as true and view

them in the light most favorable to a plaintiff, resolving all doubts in the non-moving party’s

favor. See Phillips v. County of Allegheny, 515 F.3d 224, 228, 228 (3d Cir. 2008) (“The District

Court . . . was required to accept as true all factual allegations in the complaint and draw all

inferences from the facts alleged in the light most favorable to [the non-moving party]”). In

considering a 12(b)(6) motion, courts “do not inquire whether the plaintiff[ ] will ultimately

prevail, only whether [it is] entitled to offer evidence to support [its] claims.” Nami v. Fauver, 82

F.3d 63, 65 (3d Cir. 1996); see also Phillips, 515 F.3d at 246. None of Everest’s newly alleged

facts can be considered at this juncture, especially where those facts contradict VB’s well-pled

allegations. See Cichonke v. Bristol Twp., No. 14-4243, 2015 WL 1345439, at *13 n.19 (E.D. Pa.

Mar. 25, 2015) (“At the motion to dismiss phase, Defendants’ unsupported assertions cannot

contradict Plaintiff’s allegations in the Amended Complaint.”); Long v. Holtry, 673 F. Supp.2d

341, 352 (M.D. Pa. 2022) (“[I]n deciding a motion to dismiss, the court is not here to weigh the

evidence; instead, the court must take Plaintiffs’ well-pled facts as true.”).

       Notably, the defendant “bears the burden of showing that no claim has been presented.”

Hedges v. U.S., 404 F.3d 744 (3d Cir. 2005). A motion to dismiss must be denied where—as



2
 VB is under no obligation to identify with specificity every single such site at the pleading stage.
See Pennfield Precision, Inc. v. EF Precision, Inc., 2000 WL 1201381 (E.D. Pa. Aug. 15, 2000).


                                                  4
  here—a plaintiff states a claim that is “plausible on its face” and pleads “factual content that allows

  the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

  Ashcroft v. Iqbal, 556 U.S. 662, 663, 678 (2009); see also Connelly v. Lane Const. Corp., 809 F.3d

  780, 786 (3d Cir. 2016) (noting that a complaint need only allege “sufficient factual matter,

  accepted as true, to state a claim to relief that is plausible on its face.”). “The ‘plausibility’ standard

  required for a complaint to survive a motion to dismiss is not akin to a ‘probability’ requirement

  but asks for more than sheer ‘possibility.’” Etimine USA Inc. v. Yazici, No. 2:20-cv-713, 2021 WL

  1131256, at *3 (W.D. Pa. Mar. 24, 2021). Here, VB’s allegations are unquestionably plausible on

  their face because similar allegations were leveled against TriStar – a company that engaged in the

  same scheme as Everest’s that was owned and run by some of the same people who own and run

  Everest – in the TriStar litigation, and those claims survived (in part) summary judgment. See

  TriStar Investors, Inc. v. American Tower Corp., 2014 WL 1327663; TriStar Litigation, at DE 9.

          Similarly, in reviewing a motion to dismiss under Rule 12(b)(7), the court “must accept all

  factual allegations in the complaint as true and draw all reasonable inferences in favor of the non-

  moving party.”3 See Estate of Alvin v. Herman, No. 2:22-cv-00372-MJH, 2022 WL 2343307, at

  *4 (W.D. Pa. Jun. 29, 2022). The “[defendant] bears the burden of showing why an absent party

  should be joined under Rule 19.” Disabled in Action v. Southeastern PA Trans. Authority, 635

  F.3d 87, 96 (3d Cir. 2011); see also Herman, 2022 WL 2343307, at *4.

                                               ARGUMENT

I.        VB’s Trade Secret Claims Are Well-Pled.

          In an attempt to overcome the high standard for a motion to dismiss, Everest




  3
   Everest fails to include the applicable standard for a motion to dismiss under Rule 12(b)(7). As
  such, VB recites the standard herein.


                                                      5
mischaracterizes VB’s allegations, relies on baseless factual assertions at odds with the allegations

in VB’s Complaint, and—on several occasions—misrepresents the law. As detailed below,

Everest’s arguments defy the basic principles of trade secret law and do not support dismissal of

VB’s well-pled Complaint.

       Tellingly, nowhere in its Motion does Everest set forth the baseline requirements for trade

secret protection under the Defend Trade Secrets Act (“DTSA”) and Pennsylvania Uniform Trade

Secrets Act (“PUTSA”). The reason for this omission is clear: VB has clearly met each of the

statutory requirements. Under the DTSA, the term “trade secret” is defined (in relevant part) as

follows:

                      [A]ll forms and types of financial, business, scientific,
               technical, economic, or engineering information, . . . if—

                      (A) the owner thereof has taken reasonable measures to keep
               such information secret; and

                       (B) the information derives independent economic value,
               actual or potential, from not being generally known to, and not being
               readily ascertainable through proper means by, another person who
               can obtain economic value from the disclosure or use of the
               information . . . .

18 U.S.C.A. § 1839 (emphasis added).4

       As explained more fully below, VB has sufficiently alleged that its pricing and price

structure information is a “trade secret” under the plain language of both statutes.

       A.      VB Sufficiently Identified The Trade Secrets At Issue.

       Everest argues that VB’s Complaint must be dismissed because it cannot identify the trade



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  The PUTSA protects the same type of information as that protected by the DTSA. See Etimine,
2021 WL 1131256, at *4 (“Although DTSA and PUTSA use different wording to define a trade
secret, both protect the same type of information.”).



                                                 6
secrets at issue unless VB identifies the specific terms in specific contracts that are trade secrets.

See Br. at 12. However, this argument rests on a distortion of the trade secrets at issue. VB clearly

alleged its trade secrets sought to be protected: its “confidential formula to set the pricing terms

and pricing structure” of the VB Contracts, as well as the rent terms, escalators, and the timing and

amount of such escalators. DE 1 ¶ 30, ¶¶ 36-37 (emphasis added). Thus, the trade secrets at issue

are VB’s formula and specific rent/escalation provisions, evidenced in VB’s Contracts nationwide.

        VB is not aware of any case law—and Everest does not cite to any such case law itself5—

that requires a plaintiff to identify every contract that contains or reflects its trade secret

information at the pleadings stage. All that is required is that “the subject matter of the trade secret

must be described with sufficient particularity to separate it from matters of general knowledge in

the trade or of special knowledge of those persons who are skilled in the trade, and to permit the

defendant to ascertain at least the boundaries within which the secret lies.” Oakwood Labs, LLC v.

Thanoo, 999 F.3d 892, 905 (3d Cir. 2021) (reversing 12(b)(6) dismissal and explaining that “a




5
  Everest cites to two decisions, Mallet & Co., Inc. v. Lacayo, 16 F.4th 364 (3d Cir. 2021) and
DeCurtis LLC v. Carnival Corp., No. 20-22945, 2021 WL 1968327 (S.D. Fla. Jan. 6, 2021), for
the proposition that VB must “allege which terms in which contracts are protected trade secrets.”
Br. at 12. Both decisions, however, are wholly inapposite. And to the extent DeCurtis is relevant,
it supports VB’s position. In Mallet, the Third Circuit dissolved a preliminary injunction and
remanded the case to the trial court for further clarification in the preliminary injunction order on
what specific trade secrets were at issue. Specifically, the Court held that “Because the District
Court did not identify with specificity the information it found to be Mallet’s trade secrets, we are
not in a position to make an informed decision as to whether Mallet is likely to prevail on its trade
secret claims.” 16 F.4th at 379. Similarly, in DeCurtis, the Southern District of Florida dismissed
plaintiff’s allegations that its “financial, business, scientific, technical, economic, and engineering
information” was trade secret-protected for failing to sufficiently identify the trade secrets at issue.
2021 WL 1968327, at *4-5. By contrast, here, VB has not pointed to “broad categories of
information,” but has specifically identified its pricing terms and pricing formula as the trade
secrets at issue. Thus, VB has pled “sufficient facts to . . . give [Everest] notice of the [trade secrets
alleged].” See id. at *5. Notably, DeCurtis is in line with the Third Circuit case law cited in n. 6
infra.


                                                    7
plaintiff need not ‘spell out the details of the trade secret to avoid’ dismissal”).6

        VB has more than satisfied this standard. Moreover, the sufficiency of VB’s allegations is

evidenced by the fact that Everest has identified (at least some) of VB’s alleged trade secrets at

issue by impermissibly attaching eight leases to its Motion. Because Everest was able to identify

at least these eight leases containing trade secret information (and elsewhere in its Motion it

acknowledges that VB is seeking to protect its rent terms, escalation terms, and formula used to

determine those, see Sec. II.C, E infra), it is clear that Everest is able to “ascertain at least the

boundaries within which the secret lies.” See Oakwood Labs, 999 F.3d at 905. Additionally, the

trade secrets at issue here constitute exactly the same type of information that was issue in the

TriStar case, which survived both Rule 12 and Rule 56 motions practice. See TriStar Litigation, at

DE 77, 321. Everest, which is owned and controlled by some of the same people who owned and

controlled TriStar and who were counterclaim defendants in TriStar, is therefore surely able to

“ascertain the boundaries” of the trade secrets at issue here.

        B.      VB’s Trade Secret Misappropriation Claim Is Well-Pled.

        Once this Court reviews the controlling statutes and Third Circuit case law discussed supra,

it will become clear that the rental amount, escalator amounts, escalator timing, and the formula

that this information reflects are all protected trade secrets. The next question is whether VB has

sufficiently alleged misappropriation of these trade secrets, and here, Everest’s own Brief answers

the question definitively: Everest has conceded that it targets VB’s Landlords, induces them to

share VB Contracts, and that it appropriates through this process VB’s pricing information,


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  See also Etimine, 2021 WL 1131256, at *5; Center Pointe Sleep Assocs., LLC v. Panian, No. 08-
1168, 2009 WL 789979, at *3 (W.D. Pa. Mar. 18, 2009) (same); see also Pennfield Precision, Inc.,
2000 WL 1201381 (“[C]ourts are in general agreement that trade secrets need not be disclosed in
detail in a complaint alleging misappropriation for the simple reason that such a requirement would
result in public disclosure of the purported trade secret.”).


                                                   8
including monthly rent, escalators, and timing of escalators. Since all of this information

constitutes protectable trade secrets, Everest’s concession means that it has admitted

misappropriated for purposes of its Motion. See Br. at Sec. I.A; see also Exs. 1–8 (demonstrating

that Everest has in fact misappropriated VB’s trade secrets, since it is in possession of leases

containing VB’s trade secrets that it appropriated without permission from VB, including two

leases – Exs. 7–8 – that have express confidentiality provisions).

          Now, Everest is aware of what it is doing here – this is where Everest attempts its judo

move. While conceding that it induces Landlords to share VB’s confidential pricing information,

Everest argues that such misappropriation is excusable because it is “simply not plausible” that

others in the industry could conduct business without such misappropriation. Br. at 11. The

argument relies on a factual assertion—for which Everest provides no support—that is flatly

contradicted by the factual allegations in VB’s Complaint, and which therefore has to be rejected

at the Rule 12 stage. See DE 1 ¶ 33.

          As VB has alleged in its Complaint (and as ATC – the country’s largest tower company –

alleged in the TriStar Litigation7) legitimate tower aggregators (with whom VB regularly does

business) do not resort to misappropriating trade secrets for purposes of conducting their business.

See DE 1 ¶ 33. Rather, these tower aggregators rely on their market research, analysis, experience,

and skill to develop competitive offers. See id. Everest, however, describes the intensive process

of preparing an offer based on a research-driven multiple as simply “guesswork,” and presumably

sufficient justification for misappropriation. See Br. at 11. Of course, nothing in DTSA or PUTSA

creates an exception that permits misappropriation under circumstances where maintaining a

competitive business requires effort. Further, the mere fact that others are acting unlawfully (if that


7
    See TriStar Litigation, at DE 9.


                                                  9
were indeed the case, and there is no support other than Everest’s counsel’s say-so that it is) cannot

excuse Everest’s own admittedly unlawful behavior.

       Even assuming Everest’s argument had any merit, this argument depends entirely on

resolving a factual dispute regarding how tower aggregators run their business. See supra pp. 2–3.

But a motion to dismiss is not the correct vehicle for resolution of factual disputes, particularly

where Everest’s newly introduced facts directly contradict VB’s Complaint. See id.

       C.      VB’s Rent Payment Amounts And The Process Used To Determine Those Are
               Protectable Trade Secrets.

       Everest next argues that VB cannot assert trade secret protection over the “output” (i.e., the

rent and escalation terms)8 of its proprietary trade secret pricing model and, even if VB could, that

trade secret protection is irrelevant because other parties can purchase that information. Br. at 13–

14. This argument is fundamentally flawed in multiple ways.

       First, in making this argument, Everest has again conceded that it is able to sufficiently

identify the trade secrets at issue (the output, rent terms, and escalation terms). See Sec. I.B supra.

       Second, Everest’s argument depends on an oversimplification of VB’s allegations. VB

alleges that its trade secrets include not only rent amounts, but also “periodic rental payment

increases” as well as “timing and amounts of escalators” that are used “on an individual-site

basis.”9 DE 1 ¶ 30. This type of information falls squarely within the scope of “all forms and types

of financial, business, [or] economic . . . information” that DTSA defines as a trade secret. See 18


8
  Significantly, elsewhere in its Brief, Everest concedes that VB’s pricing information relates to
more than just “rent amounts.” See Br. at 11 (“Vertical Bridge claims Everest . . . find[s] out exactly
what rent amount (and period rent increases) they are buying”); id. at 15 (acknowledging that VB
alleges that “the individual rent terms are trade secrets because they are the product of VB’s trade
secret process” (i.e., its “‘confidential formula to set the pricing terms and pricing structure’”)
(quoting DE 1 ¶ 30).
9
  Notably, Everest does not even address whether any of VB’s other pricing information, such as
rent escalators and timing of such escalators, are protectable trade secrets. See Br. at Sec. I.C.


                                                  10
U.S.C.A. § 1839(3); see also Etimine, at *5 (“Courts routinely have found that DTSA and PUTSA

protect things such as . . . pricing”); Rycon Specialty Foods, Inc. v. Wellshire Farms, Inc., No.

1:09-cv-2092, 2011 WL 1988016, at *2 (M.D. Pa. May 23, 2011) (holding that plaintiff’s pricing

information was not subject to a motion to compel because “[t]he type of . . . pricing [information]

at issue here falls squarely within the definition of a trade secret.”).

        Third, Everest’s legal argument that pricing information is not protectable is inconsistent

with well-established Third Circuit case law. Everest boldly claims that “[t]he Third Circuit is

clear that . . . ‘pure pricing information, readily obtainable from other sources,’ cannot” qualify as

trade secret, but directly cites only a District of New Jersey case in support. Br. at 13 (emphasis

added).10 In making this argument (and relying on a District of New Jersey case to do so), Everest

reverses Third Circuit case law, which has in fact held that pricing information similar to VB’s

constitutes protectable trade secrets. Indeed, in SI Handling Systems, Inc. v. Heisley, which Everest

references throughout its Brief (but fails to accurately cite), the Third Circuit concluded that

plaintiff’s “costing and pricing information,” including “a whole range of data relating to materials,

labor, overhead, and profit margin, among other things” that was not “readily obtainable by anyone

in the industry” was subject to trade secret protection, although information about another entity’s

material costs was not. See 753 F.2d 1244, 1260 (3d. Cir. 1985). Similar to the plaintiff’s trade

secret information in SI Handling, VB’s protected pricing and price structure information is the

product of “a whole range of data” relating to pricing models and market analyses, and in certain

situations was developed using VB’s confidential formula. DE 1 ¶ 30.




10
  Howmedica Osteonics Corp. v. Howard, No. 19-19254, 2022 WL 16362464 (D.N.J. Oct. 28,
2022).


                                                  11
        Furthermore, the Howmedica D.NJ. decision on which Everest relies directly undermines

Everest’s position and supports VB’s. See Br. at 13. In Howmedica, the court noted that pricing

information could be trade secret-protected under the DTSA, and distinguished between “pure

pricing information” (standard, public pricing across all customers) and plaintiff’s customer-

specific pricing information, which is similar to VB’s “individual-site basis” information:

“[because plaintiff] d[id] not use a standard price for each product or customer . . . [t]his would

mean that the information is not ‘pure’ pricing information.” See id. at *18; see also DE 1 ¶ 30

(pricing information is set “on an individual-site basis.”). Notably, the court in Howmedica

analyzed a motion for summary judgment (following full factual discovery), rather than a motion

to dismiss, and even then the court denied the motion because “the existence of a trade secret is a

question of fact, not law.” See Howmedica, 2022 WL 16362464, at *17.

        Numerous other courts have similarly found that pricing information—like that at issue

here—is subject to trade secret protection. Etimine, 2021 WL 1131256, at *5 (“Courts routinely

have found that DTSA and PUTSA protect things such as . . . pricing”); Project Development Grp.,

Inc. v. O.H. Materials Corp., 766 F.Supp. 1348, 1355 (W.D. Pa. 1991) (denying summary

judgment with respect to whether plaintiff’s bid proposal was trade secret protected “[b]ecause it

has been held that pricing and estimating tactics and formulations deserve trade secret protection”);

Freedom Med., 343 F. Supp.3d at 52011 (finding that plaintiff’s pricing schedules “are protected

trade secrets”).



11
   Everest cites to Freedom Med. in support of this argument, but that case does not help Everest.
In Freedom Med., the court found that plaintiff’s information was trade secret-protected “because
[the information was] the product of a proprietary pricing formulae derived from a ‘range of data
relat[ed] to materials, labor, overhead, and profit margin.’” Freedom Med., 343 F. Supp.3d at 520.
So too is VB’s pricing information. See DE 1 ¶ 30. “As such, the pricing [information is a]
protected trade secret[].” Id. at 520.


                                                 12
       Fourth, Everest argues that because it could have lawfully acquired VB’s pricing

information, such information is not a protectable trade secret. See Br. at 14. This argument,

however, conflates what would have happened if Everest had behaved lawfully with what Everest

actually does, which is decidedly unlawful. Everest points out that had it obtained VB’s pricing

information by becoming VB’s Landlord using the methods of legitimate tower aggregators, it

would then have obtained VB’s pricing information, and that therefore “these legitimate

aggregators and Everest [would] end up with the exact same information after closing.” Br. at 14.

This argument is akin to saying that the recipe to a fast food company’s secret sauce is not a

protectable trade secret and can be obtained through any means by that company’s competitor just

because in some cases the fast food company licenses a franchise and shares the recipe with a

licensee. Such an argument is obviously absurd. Misappropriation of trade secrets is unlawful

regardless of the fact that misappropriation and lawful appropriation can end up with the same

result. This basic concept is clear when one reviews the DTSA. 18 U.S.C.A. § 1839 (defining

misappropriation as trade secret use “without express or implied consent by a person who (i) used

improper means to acquire knowledge of the trade secret”). Thus, the Court should reject Everest’s

“would have/could have” arguments.

       D.      Confidentiality Provisions Are Not Required For Trade Secret Protection.

       Everest argues next that VB’s pricing and price structure information cannot be trade

secret-protected because not every VB Contract contains a confidentiality provision. See Br. at 14.

In so arguing, Everest ignores the fact that VB’s pricing and price structure information is set on

an “individual site-basis[;]” thus, any lack of a confidentiality provision in one contract does not

remove trade secret protection from the entire category of pricing information alleged, since the




                                                13
information is site-specific.12 See DE 1 ¶ 30; see also Howmedica, 2022 WL 16362464, at *18–

19 (whether plaintiff took reasonable measures to protect secrecy was a question of fact where

plaintiff only required non-disclosure agreements “at times”).13

        Nonetheless, whether information is protected by a confidentiality provision is not

dispositive of whether such information is considered a trade secret.14 Under the statutes’ plain



12
   In the TriStar Litigation, ATC alleged trade secret misappropriation for TriStar’s acquisition of
ATC leases that contained ATC’s pricing terms and confidentiality provisions. See 2014 WL
1327663, at *7. The court found that there were “substantial differences in the wording and scope
of the confidentiality provisions contained” in the lease agreements presented following discovery,
which prevented summary judgment on the DTSA claim. Id. (“These differences and the practical
impediments to the Court’s ability to itself analyze the 143 agreements, which are subject to
different state laws, with minimal guidance from the parties, militates against the Court deciding
the claim as a matter of law.”). In the case at bar, the universe of relevant sites and leases is as yet
not fully known, because the nature of Everest’s scheme prevents VB from knowing precisely
what sites Everest has targeted or is currently targeting. VB does know, however, and has alleged
(similar to ATC in the TriStar Litigation) that “Everest … targets Towers that it believes are subject
to soon-to-be expiring ground leases” across multiple states in VB’s nationwide network. DE 1 ¶
34; see also TriStar Litigation, at DE 9.
13
   Everest cites to Howmedica to support its argument that confidentiality provisions are required
for trade secret protection. See Br. at 15 (claiming that Howmedica found “no trade secret
protection where ‘only some . . . customers enter into non-disclosure agreements with respect to .
. . pricing information’”). The Howmedica quote Everest relies on, however, is taken out of
context, and relates to the court’s analysis of whether defendant breached a non-disclosure clause
in the parties’ contract. See Howmedica, 2022 WL 16362464, at *10–11. Notably, the court
declined to grant plaintiff’s summary judgment motion for its trade secret claim because there was
“a genuine dispute as to a question of fact” regarding whether plaintiff took reasonable measures
to protect its purported trade secrets, despite the fact that the plaintiff only required non-disclosure
agreements to protect its information “at times.” See id. at *18–19. Everest’s cite to REACT
Environmental Prof. Servs. Group. Inc. v. Buzan fares no better. Br. at 15. In REACT, the court
granted defendant’s motion for summary judgment on plaintiffs’ DTSA claim where plaintiffs did
not dispute that “all clients to whom REACT provided proposals were free to use those proposals
however they chose.” 2021 WL 3604079, at *13 (emphasis provided). This, however, is in stark
contrast to VB’s Complaint, wherein VB describes the protective measures VB takes to prevent
Landlords from disclosing its trade secret information. DE 1 ¶ 31.
14
   The two out-of-circuit cases that Everest cites in support, Synopsys, Inc. v. Risk Based Security,
Inc. and Town & Country Linen Corp. v. Ingenious Designs LLC, are readily distinguishable and
are both summary judgment cases. In Synopsys, the court affirmed that determination of reasonable
measures “is a ‘fact intensive’ question,” however, the court rejected plaintiff’s trade secret claims
after emphasizing that plaintiff provided “a global [billion dollar] company” with the right to
access, copy, and modify its products, and did not place any confidentiality requirements on the


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language, both the DTSA and PUTSA consider information trade secret where “the owner . . . has

taken reasonable measures to keep such information secret.” See 18 U.S.C.A. § 1839; see also 12

Pa. Cons. Stat. Ann. § 5302 (noting that trade secret information “[i]s the subject of efforts that

are reasonable under the circumstances to maintain its secrecy.”). Noticeably absent from either

statute is a requirement that the trade secret be subject to a confidentiality provision, as Everest

suggests. See 18 U.S.C.A. § 1839; 12 Pa. Cons. Stat. Ann. § 5302; Swift Bros. v. Swift & Sons,

Inc., 921 F. Supp. 267, 277 (E.D. Pa. 1995) (“The defendants assert that the plaintiff had no

confidentiality agreements…Such agreements are not necessary in every case, however, if the

other precautions taken by the plaintiff are sufficient.”).

       Even if confidentiality provisions were necessary—which they are plainly not—Everest’s

own Motion concedes that at least two of the leases attached to Everest’s Motion15 do have such a

provision. Br.at 15. Of course, VB does not agree that the eight leases Everest attached to its

Motion are the only leases at issue. Further discovery is necessary to identify all leases (not just

those that Everest unilaterally decided to attach to its Motion) obtained through a completed

transaction and all leases that were obtained in connection with ongoing negotiations or aborted




company or its end users. See 2022 WL 3005990, at *16 (E.D. Va. Jul. 28, 2022). And in Town,
plaintiff failed to establish “the existence of a confidentiality agreement or any other measures
reasonably taken to protect [the] information,” and the court quoted another S.D.N.Y. case,
stating: “[A] formal [confidentiality] agreement is not necessary to establish secrecy . . . .” 556
F.Supp.3d 222, 262 (S.D.N.Y. 2021) (emphasis added) (citations omitted).
15
   VB objects to the consideration of the leases as they were not relied on in VB’s Complaint. Such
extrinsic evidence is not properly subject to judicial notice, nor is it appropriate to consider at the
motion to dismiss stage. See Morozin v. Johnson, No. Civ.A. 11-2653, 2011 WL 587146, at *3
(E.D. Pa. Nov. 18, 2011) (declining to take judicial notice of the exhibits “as they [were] not proper
. . . to consider as part of a motion to dismiss). Furthermore, given the very nature of Everest’s
unlawful scheme, VB did not and cannot know all of the sites impacted by Everest without
discovery. Nonetheless, VB addresses the leases to preserve its arguments in the event that the
Court disagrees.


                                                  15
transactions, as well as all the sites where Everest attempted but failed16 to misappropriate VB’s

trade secrets.17 Thus, even if Everest’s argument that confidentiality provisions are necessary were

true, additional discovery would be needed to isolate those agreements at issue that do contain

such a provision.18

       Moreover, VB’s Complaint sufficiently alleges that reasonable measures have been taken

to warrant trade secret protection. In particular, VB alleges that it:

              “[I]ncorporate[es] confidentiality provisions into VB Contracts that prohibit
               Landlords from disclosing terms of their VB Contract to third parties;”
              Maintains documentation reflecting its trade secrets on an “internal, password-
               protected database;” and
              “[T]ak[es] steps to ensure that all trade-secret information is specifically redacted
               in all publicly recorded ‘memoranda of lease’ . . . to the fullest extent allowed by
               law.”
DE 1 ¶¶ 31, 62. Furthermore, VB alleges that pricing information “is jealously guarded by industry

participants,” (DE 1 ¶ 37), and that “[t]he telecommunications infrastructure industry as a whole

considers the type of pricing information at issue here to be trade secret-protected.” DE 1 ¶ 63.

Indeed, “industry participants generally take the same steps [as VB] to maintain the secrecy of

their respective information.” Id. Everest does not address any of these allegations in its Motion.

       Notwithstanding the foregoing, determining whether VB has adequately protected its trade

secrets simply cannot be decided at the motion to dismiss stage. “Courts have held that . . . ‘the


16
   This is similar to the harm ATC alleged in the TriStar Litigation, where ATC presented evidence
demonstrating that “even when TriStar bids unsuccessfully for ATC sites, it substantially increases
ATC’s costs per site . . . .” 2014 WL 1327663, at *10.
17
   Notably, in the case Everest cites in its Brief, DeCurtis, the court declined to consider extrinsic
documents attached to the motion to dismiss “because . . . there is an ongoing disagreement on
whether these items constitute all of the communications between the parties. […] Thus, the
universe of these documents is in dispute, negating any possibility that they should be considered
on a motion to dismiss.” Decurtis, 2021 WL 1968327, at *3.
18
   See Callery v. HOP Energy, No. 20-3652, 2023 WL 2601178, at *2 (E.D. Pa. Mar. 22, 2023)
(“Defendant’s arguments [include] information to which Plaintiff does not have access before
discovery, [and] are more appropriate for resolution after the factual record has been developed.”).


                                                  16
determination of whether a plaintiff’s efforts to maintain the secrecy of its alleged trade secrets

were reasonable is not a question susceptible of black-or-white analysis.’” Warman, 2022 WL

17960722, at *11 (citations omitted); see also id. (denying summary judgment on plaintiff’s trade

secret claims where “genuine issues of material fact exist regarding whether [plaintiff] took

reasonable measures to guard the secrecy of what he claims to be a trade secret.”); Etimine, 2021

WL 1131256, at *5 (“Moreover, whether a plaintiff has taken sufficient measures to protect its

trade secrets is a question of fact more appropriately determined with a fully developed record.”).

       E.      VB’s Pricing Information Is Trade Secret-Protected, Regardless Of Whether
               It Was Developed With VB’s Confidential Formula.

       Citing only one case in support,19 Everest argues that VB’s pricing and price structure

information is “not entitled to trade secret protection” where VB is an assignee of the VB Contracts

containing such information. See Br. at 16.

       This argument is flawed in several respects. First, neither statute provides trade secret

protection to only those who initially developed the trade secret at issue. See 18 U.S.C.A. § 1839(4)

(“[T]he term ‘owner’, with respect to a trade secret, means the person or entity in whom or in

which rightful legal or equitable title to, or license in, the trade secret is reposed”); 12 Pa. Cons.

Stat. Ann. § 5302 (no development requirement). Second, it is well-established that entities can

purchase the trade secrets of another (as is the case here). See Intellisoft, Ltd. v. Acer Am. Corp.,

955 F.3d 927, 932 (Fed. Cir. 2020) (plaintiff “did not need to prove that [it was the inventor of the


19
  Everest cites to only Nicolo v. Patterson Belknap Webb & Tyler, LLP in support. Id. (citing No.
13-cv-706, 2016 WL 5661737, at *3 (W.D. Pa. Sept. 30, 2016)). However, Nicolo is wholly
inapposite. In Nicolo, the court granted summary judgment on plaintiff’s trade secret claim where
plaintiff attempted to assert trade secret protection over “a series of admissions” that plaintiff
previously made about his lack of plans for marketing and developing his patents. Id. at *4. VB’s
pricing information is not akin to plaintiff’s mere admissions in Nicolo. See DE 1 ¶ 30. Moreover,
even the court in Nicolo declined to grant defendant’s prior motion to dismiss. See Nicolo, 2016
WL 5661737, at *4.


                                                 17
claims in the patent at issue], but needed to show only that [plaintiff] by assignment . . . was the

owner of the trade secrets.”); see also Advanced Fluid Sys., Inc. v. Huber, 28 F. Supp. 3d 306, 323

(M.D. Pa. 2014) (“information forming the basis of a trade secret can be transferred” and “it is the

information’s continuing secrecy that offers value—and a cause of action—to its possessor.”).

Third, the relevant inquiry is not who developed the trade secret, but whether VB has exercised

lawful possession over the asserted trade secret information. See Advanced Fluid Sys., 28 F. Supp.

3d at 323 (“It is enough . . . that plaintiffs demonstrate lawful possession of a trade secret in order

to maintain a misappropriation claim.”); see also Sec. I.D supra.

       Further, regardless of whether VB developed the trade secrets on its own, VB still alleges

that the VB Contracts “contain trade secret-protected information” even if such trade secrets were

developed by VB’s predecessor. See DE 1 ¶ 69; Sec. I.D supra. To the extent that any VB Contracts

were inherited, the pricing information in those contracts is still subject to trade secret protection

because VB became the lawful owner of such trade secrets upon assignment of the VB Contracts,

and continued treating such trade secrets as confidential by using reasonable means to protect

them. See 18 U.S.C.A. § 1839(4); see also Sec. I.D supra. The sufficiency of such protective

measures is a question of fact more appropriately decided after discovery. See Etimine, 2021 WL

1131256, at *5.

II.   VB’s Lanham Act Claim is Well-Pled.

       Everest’s only challenge to VB’s Lanham Act claim is with respect to the first element of

the relevant cause of action: whether the defendant made false or misleading statements in

commercial advertising or promotion relating to products or services. See Br. at Sec. II; see Shure

Inc. v. Clearone, Inc., 2020 WL 2839294, at *5 (D. Del. June 1, 2020). Everest’s argument fails

because VB has sufficiently pled that Everest made misleading statements during promotion of

Everest’s services to Landlords. See infra Sec. II.B–D.


                                                  18
       A.      VB’s Allegations Are Sufficient Under Any Pleading Standard.

       Everest attempts to impose a heightened pleading standard under Fed. R. Civ. P. 9 to VB’s

Lanham Act claim, relying primarily on Max Daetwyler. Max Daetwyler Corp. v. Input Graphics,

Inc., 545 F. Supp. 165, 171 (E.D. Pa. 1982) and Registered Agent Solutions, Inc. v. Corp. Serv.

Co., No. 21-cv-786, 2022 WL 911253 (D. Del. Mar. 28, 2022) (which itself cites to Max

Daetwyler). However, since the United States Supreme Court’s landmark decisions in Twombly

and Iqbal, that is not the correct standard for a Lanham Act claim. See Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007); Iqbal, 556 U.S. at 678. Courts in this Circuit have applied the Rule 8

standard to these claims, rather than Rule 9.20 See Shure Inc., 2020 WL 2839294, at *5 n.12

(rejecting an intermediate pleading standard for Lanham Act claims and explaining that “district

courts in this Circuit . . . usually cite for support to a 35-year-old, pre-Twombly/Iqbal decision[]:

Max Daetwyler . . . .”); Valley Forge Military Academy Found. v. Valley Forge Old Guard, Inc.,

24 F.Supp.3d 451, 454 (E.D. Pa. 2014) (applying Rule 8 pleading standard). Nonetheless, as

further explained below, even if the Court were to apply the Rule 9 pleading standard here, VB’s

well-pled allegations are more than sufficient to meet that standard.

       B.      VB Sufficiently Alleged That Everest’s Statements Are Actionable
               Misrepresentations Under The Lanham Act.

       First, Everest argues that VB’s allegations are insufficient because “[p]ure omissions are

not actionable under the Lanham Act.” Br. at 19. In support, Everest cites to FMC Corp. v. Summit

Agro USA, LLC for the proposition that “in and of itself an omission is insufficient” to state a

Lanham Act claim. Id. (citing FMC Corp. v. Summit Agro USA, LLC, No. CV 14-51-LPS, 2014




20
  VB acknowledges that the case law among the district courts of the Third Circuit is unsettled.
However, in light of Iqbal and Twombly, and as explained further above, the Rule 8 standard
should apply to assessing Lanham Act claims.


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WL 6627727, at *6 (D. Del. Nov. 14, 2014)). The rest of the quoted sentence in FMC Corp.,

however, demonstrates why Everest’s argument is meritless. The sentence reads: “Thus, while a

key omission of fact might contribute to a Section 43(a) claim’s efficacy, in and of itself an

omission is insufficient; the plaintiff must also point to an actionable affirmative statement in order

to breathe life into such a claim.” Id. (emphasis added). Notably, the plaintiff in FMC Corp. “never

highlighted any affirmative statement at all,” and the court noted that “[a] fair reading of [plaintiff’s

claim] indicates that [plaintiff] was not . . . intending to rely on anything other than an omission of

fact to give life to the alleged Section 43(a) violation.” Id. at *8, 12–13 (emphasis omitted). This

bears no resemblance to VB’s allegations. Here, VB alleged that Everest made misleading

statements to Landlords regarding revenue share that caused Landlords to believe that they would

indeed receive such revenue, as well as omissions. See DE 1 ¶ 51(a)-(d).

        Second, Everest argues that VB alleges a “prediction of future events” that is non-

actionable under the Lanham Act. Br. at 19. This is incorrect. In the case Everest cites for support,

Registered Agent Solutions, the defendant had represented to customers that plaintiff was “going

out of business soon,” which was considered an expression of opinion. See Registered Agent, 2022

WL 911253, at *5. Here, however, VB alleges that Everest knows that its promise to Landlords is

false at the time it is made. See DE 1 ¶ 51 (“Everest is aware that the Landlords will never receive

that projected revenue”). This misrepresentation falls squarely under the Lanham Act.21 See Shure

Inc., 2020 WL 2839294, at *7 (denying motion to dismiss Lanham Act claim where defendant

stated that plaintiff’s allegedly infringing product “would soon be ‘unavailable’” because the

statement was “clearly untrue, in light of the then-current state” of the patent litigation).



21
  For example, in its simplest form, the statement “I promise to sell you my car next week” can
certainly be considered a false or misleading statement if, at the time I made the statement, I did
not have a car to sell (and indeed had no intention of ever selling anything to you).


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       Third, Everest asserts that VB’s Complaint demonstrates that Everest’s promises could be

true. Yet again, Everest mischaracterizes VB’s allegations. Compare Br. at 19, with DE 1 ¶ 51.22

VB alleges that Everest’s promise to pay future revenue is primarily dependent on VB keeping its

towers at the sites once the VB Contracts expire, which VB typically would not do. DE 1 ¶ 51

(“Everest is aware that the Landlords will never receive th[e] projected revenue [promised],” and

that “the financial benefit promised is contingent on Vertical Bridge keeping the Towers in place

after the current VB Contracts expire, which Everest is aware that Vertical Bridge would not and

does not do”). Because Everest’s revenue share promise primarily depends on VB’s presence at

the site, and Everest knows that VB would immediately leave the site upon learning of Everest’s

interest therein, Everest knows at the time of making its promise that the Landlord will never

receive any revenue. DE 1 ¶ 51.

       C.      VB Sufficiently Alleged that Everest’s Statements Were Made in Promotional
               Communications.

       Everest admits that “commercial advertising or promotion for purposes of the Lanham Act

must be, among other things, ‘sufficiently disseminated to the relevant purchasing public to

constitute advertising or promotion within the industry.’” Br. at 20.23 Yet Everest argues that VB


22
   Everest argues that because VB includes an illustrative example in its Complaint that somehow
subjects VB’s Complaint to dismissal for failure to state a claim. Br. at 7. This strawman argument
ignores the several allegations in VB’s Complaint and once again takes a single quote from a
factually distinct opinion and misconstrues it to support its otherwise baseless argument. In
Pittsburgh Logistics Sys., Inc. v. Cox Logistics LLC, the plaintiff attached a sample contract that it
typically sent to its business partners in an effort to establish a valid and enforceable contract with
the defendant. No. 20-817, 2021 WL 811394, at *4 (W.D. Pa. Mar. 3, 2021). The court rejected
the notion that the existence of a sample contract where there were no allegations that the defendant
had ever seen this example contract could somehow establish an enforceable contract with the
defendant. Id. Here, however, unlike the plaintiff in Pittsburgh Logistics, VB’s factual allegations
show that Everest’s scheme works exactly as outlined in the example. Specifically, VB plead, in
definitive terms, that Everest has made misleading statements to VB’s Landlords which Everest
knows are false at the time of making such statements. See DE 1 ¶ 51.
23
   Everest cites Synthes, Inc. v. Emerge Med., Inc., for support. Br. at 20 (citing 25 F.Supp. 3d 617,
717 (E.D. Pa. 2014)). In Synthes, the court was not analyzing a motion to dismiss. See id. at 718.


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does not plead as such because it does not “identify any misstatements in any television

commercials, internet advertisements, print advertisements, trade publications, or press releases.”

Id. The Lanham Act, however, is not limited to traditional advertising. “The ‘touchstone’ of

whether a defendant’s statements amount to the requisite commercial advertising or promotion is

‘that the contested representations are part of an organized campaign to penetrate the relevant

market.’” Shure Inc., 2020 WL 2839294, at *6.

       Here, the relevant market is VB’s nationwide telecommunications-infrastructure network

and the thousands of Landlords with whom VB has relationships in support of this network. VB

has alleged that Everest has targeted these Landlords and has, among other things, misrepresented

its services to the Landlords and the future revenue share such Landlords would receive if they

chose to accept Everest’s offers. Such statements constitute advertisements or promotions under

the Lanham Act. Shure Inc., 2020 WL 2839294, at *6–7. In particular, statements disseminated in

letters to a competitor’s customers or potential customers, similar to those Everest sent, 24 have

been held to constitute advertisements or promotions under the Lanham Act. See Carpenter Tech.

Corp. v. Allegheny Techs., Inc., 646 F. Supp.2d 726, 736–37 (E.D. Pa. 2009) (denying motion to

dismiss where the parties were “market competitors,” and defendant sent letters to plaintiff’s

“actual and potential customers” allegedly “to discourage [plaintiff’s] business and to improve its

own.”).25 As such, the Court should reject Everest’s argument that its misrepresentations were not



Rather, the court was analyzing plaintiff’s motion for summary judgment after the court had
previously denied the motion to dismiss due to the court’s “reasonable inferences from [plaintiff’s]
allegations [that] suggest[ed] that [the allegations] . . . exemplify a broad and widespread
dissemination of the statements to the relevant purchasing public . . . .” Id.
24
   See DE 1 ¶¶ 38, 51, 53.
25
   See Shure Inc., 2020 WL 2839294, at *7 (denying motion to dismiss where defendant sent letters
to “more than a dozen” customers); see also id. (citing Gen. Sec. Inc. v. Commercial Fire & Sec.,
Inc., No. 17-CV-1194 (DRH) (AYS), 2018 WL 3118274, at *8 (E.D.N.Y. June 25, 2018) (holding
that plaintiffs sufficiently pled this element where they alleged that defendants took affirmative


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made in advertisements or promotions.

       D.      VB Sufficiently Alleged that Everest’s Statements Relate to Services.

       Finally, Everest takes the position that it cannot be held liable for Lanham Act violations

because “‘intangible property rights,’ like trademarks or the real property rights at issue, ‘are not

“goods or services” for Lanham Act purposes.’” See Br. at 21. However, “[t]he term ‘services’ as

used in the Lanham Act [is] interpreted broadly.” See Valley Forge Military Academy Foundation

v. Valley Forge Old Guard, Inc., 24 F. Supp. 3d 451, 456 (E.D. Pa. 2014). VB alleges that Everest

offers to act “as the owner/operator of the Tower” on the Landlord’s property, and additionally

makes promises “to host its own tenants to provide revenue share to the Landlords.” DE 1 ¶ 38.

Such acts are sufficient to qualify as “services” in the telecommunications industry and under the

Lanham Act, as the tower aggregator and telecommunications company are providing services to

the Landlords and others in the community by managing and operating the telecommunications

towers, and controlling the operations of the wireless carrier tenants located thereon.

III.   VB’s Remaining Claims Do Not “Rise and Fall” With Its Trade Secret
       Misappropriation and Lanham Act Claims.

       VB’s unjust enrichment, tortious interference, and unfair competition claims do not solely

“rely” on Everest’s trade secret misappropriation and Lanham Act violations. As set forth in VB’s

Complaint, the claims also request relief for the following unlawful conduct:

           Unjust Enrichment: Everest was unjustly enriched upon acquiring confidential VB
            Contracts regarding VB’s pricing information, and further appreciated the benefit of
            such information by using it to structure its offers to Landlords. See DE 1 ¶¶ 93–95;
            see also Peterson v. Johnston & Rhodes Bluestone, Co., No. 3:18-cv-2222, 2019 WL
            3202166, at *2 (M.D. Pa. Jul. 16, 2019). Whether or not the information is trade secret-
            protected, Everest still wrongfully acquired VB’s confidential information. Thus, the
            claim does not “rise and fall” with VB’s trade secret claims.



steps to contact ‘several of [p]laintiffs’ customers,’ which suggested a systematic effort to solicit
such customers)).


                                                 23
          Tortious Interference: Everest improperly interfered with VB’s Landlords by (1)
           inducing the Landlords to disclose information protected by confidentiality obligations
           (whether or not trade secret-protected); (2) persuading the Landlords to violate VB
           Contracts’ consent-for-assignment provisions; and (3) presenting Landlords with non-
           bona fide purchase offers specifically structured to circumvent VB’s ROFRs. See DE
           1 ¶¶ 100–103; see also Advanced Fluid Sys., 28 F. Supp.3d at 336. Because VB’s
           allegations are not limited to Everest’s trade secret misappropriation in interfering with
           VB Contracts,26 the claim does not “rise and fall” with VB’s trade secret claims.

          Unfair Competition: Everest improperly interferes with VB Contracts and wrongfully
           uses VB’s confidential information (whether or not trade secret-protected). See DE 1
           ¶¶ 126–128; see also Tungsten Heavy Powder and Parts, Inc. v. Global Tungsten &
           Powders Corp., No. 4:17-cv-01948, 2018 WL 3304550, at *3 (M.D. Pa. Jul. 5, 2018).
           Because VB’s allegations are not limited to Everest’s trade secret misappropriation, the
           claim does not “rise and fall” with VB’s trade secret claims.

       Accordingly, VB has adequately alleged each of the foregoing claims.

IV.   VB Has Standing, is the Real Party in Interest, and No Further Parties are Required.

       Everest makes a last-ditch argument that VB’s Complaint must be dismissed because VB

does not include its subsidiaries as parties to the Complaint, which Everest claims are “necessary

parties.” See Br. at 23.

       However, all of the case law that Everest cites in support is inapposite and involves esoteric

issues that arise in derivative shareholder litigation. See Br. at Sec. IV(A).27 Furthermore, the court

in Algemene left a carve-out to the rule Everest cites in its brief. See Br. at 23 (citing Joseph v.

Algemene Bank Nederland, N.V., 592 F. Supp. 141, 148 (W.D. Pa. 1984)) (stating that “[a]n action


26
   Everest additionally requests dismissal of the tortious interference claims and misconstrues VB’s
Complaint to assert that the only contracts at issue are the ones to which VB subsidiaries are
signatories. See Br. at 24. This is incorrect. While VB alleges that it is a parent company to all of
the subsidiaries that are parties to certain VB Contracts, that does not in turn mean that all VB
Contracts are between subsidiaries and a third party. As VB has previously explained, VB does
not yet have knowledge (without the benefit of full discovery) of exactly which VB Contracts
Everest has interfered with. Because it is likely that VB itself is party to some of the VB Contracts,
any dismissal is premature before discovery reveals the exact contracts at issue.
27
   For example, in McRae v. Smith, the court found that the corporation, not the shareholder, was
“the registered owner” of the trademarks and therefore “the real party in interest.” 159 Fed.Appx.
336, 338 (3d Cir. 2005). Everest ignores the fact that VB is “the . . . owner” of the trade secrets at
issue and therefore is “the real party in interest.”


                                                  24
to redress injuries to a corporation cannot be maintained by a shareholder in his own name . . . .

[T]his rule does not apply in a case where the shareholder shows a violation of a duty owed directly

to him.”).

        Unlike the plaintiff in Algemene, VB has sufficiently alleged violation of a duty owed

directly to VB: The duty to refrain from misappropriating VB’s trade secrets. Specifically, VB

alleges that it is VB’s trade secrets—not its subsidiaries’, that Everest has misappropriated. See

DE 1 ¶ 30. Therefore, VB has standing as the real party in interest.

        Lastly, Everest requests that the Court dismiss VB’s Complaint because it claims that VB’s

subsidiaries “are necessary parties, pursuant to Rule 19(a)(1)(B).” Br. at 24. Yet, Everest “bears

the burden of showing why [VB’s subsidiaries] should be joined under Rule 19.” Disabled in

Action, 635 F.3d at 96. Everest has not met that burden. In fact, it fails to even set forth the standard

for Rule 19 or make any real effort to explain why VB’s subsidiaries are indispensable. See 6 Fed.

Prac. & Proc. Civ. § 1543 (“The fact that an absent party could bring the action as a real party in

interest does not of itself make that party a necessary or indispensable party.”). Because VB’s

subsidiaries are not necessary parties to the action, Everest’s Motion must be denied.28

                                           CONCLUSION

        In light of the foregoing, VB respectfully requests that the Court deny Everest’s Motion in

its entirety.




28
  In the event that the Court finds that VB’s subsidiaries are in fact necessary parties (and such a
conclusion is not supported, as explained above) the remedy is certainly not dismissal with
prejudice, but amendment wherein VB simply includes every single one of its subsidiaries that
could be at issue in Everest’s scheme.


                                                   25
Dated: August 29, 2023        Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 29, 2023, a true and correct copy of the foregoing was

filed electronically with the Clerk of the Court using CM/ECF system and will be served upon

the registered participants identified on the Notice of Electronic Filing.

                                                              _/s/ Kelsi E. Robinson________
                                                              Kelsi E. Robinson




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